         Case 6:13-cv-06034-SOH Document 114                             Filed 07/16/15 Page 1 of 1 PageID #: 964
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Western District
                                                   __________ District of
                                                                       of Arkansas
                                                                          __________

                     JOHN LANCASTER                                  )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 6:13-CV-6034
                JOHN R. PACE, M.D., et al.                           )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

u the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
u              The jury returns a verdict in favor of Defendants, John R. Pace, M.D., Hot Springs Neurosurgery Clinic,
               P.A., and Lonnie Sessler, M.D.
                                                                                                                                     .

This action was (check one):

✔
u tried by a jury with Judge              Susan O. Hickey                                             presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

u decided by Judge                                                                              on a motion for

                                                                                                                                     .

Date: July 15, 2015                                                         CLERK OF COURT


                                                                            /s/ Robin W. Gray
                                                                                          Signature of Clerk or Deputy Clerk
